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                                     UM TED STATES DJSTRICT COURT
                                 SOUTIIERN DISTRICT OF FLORD A
                              CASE N O:1:16-cv-24687-W ILLIAM S/Sim onton

       EDGARDO LEBRON,

              Plaintiff,

       VS.

       ROYM CARIBBEAN CRUISES,LTD.
       aLiberian Corporation,

              Defendant.
                                                              /

                                              VERDICT FOItM

       W e,the Jury,rettzrn the following verdict:

       1. ,W asthedefendantROYAI,CARTRBEAN CRUISES,LTD negligentin themanner
       olaim ed by theplaintiff,EDGARDO LEBRON,and,ifso,wasthatnegligencealegalcauseof
       damagetoM r.Lebron?                    '


                     -
                         %--v,,                               No
                         N O''TO QUESTION ISD O N O T AN SW ER TH E REM AIN W O
       IF YOU ANSW ERED CS                           -

       QPESTIQNS;W STEAD SIGN,DATE AND RETURN TIIISFORM .IF(AND ONLY 1F)
       YOUANSWEREDCEYE;''TOQUESTIIN 1,ANSWERQUESTION2:
       2.     W astheplaintiff,EDGARDO LEBRON,also negligentin them nnnerclaim ed bythe
       defendantantl,ifso,wasthatnegligencealegalcauseofM r.Lebron'sowndnmage?

                              Y es                            No


       IFIAND ONLY IF)YOU ANSWERED TIYES''TO QUESTION 2,ANSW ER QUESTION 3
       OTHERW ISE,SKIP TO QUESTION 4
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   3.    tfyouanswered(CYes''to Question2,whatpercentageofthePlaintiff'sdnmagedoyou
   fmd 9om thep eaterweightoftheevidenceto havebeen legally caused bythenegligenceofthe
   respective parties?

   Answerin Term sofPercentages

                Defendant: $Cj %
                plaintim         %6 %
   ETI-IE TOTM OF THE PERCENTAGESABOVE M UST EQUM 100% .q
   4. IfyouansweredGGYks''toQuedtion 1,whatsum ofmoney doyoufind9om thegreater
   weightoftheevidencetobetheamountofthePlaintiffs'damages(withoutadjustmentby
   applicationofanypercentagesyoumayhavegiveninanswertoQuestion3)?
                W hatisthetotalnnnountofEdgardo Lebron's
                dnm agesform edicalcare,hospitalexpenses,
                and otherexpensesincurred irlthepast?               $q/&?Qp5.25
                W hatisthetotalnm ountofEdgardoLebron'sdam ages
                forpain and suffering,disability,disfigurem ent,
                mentalanguish,lossofcapacityfortheenjoymentof
                life,orotherdnmagessustained in thepastandto be
                sustainedinthef'
                               uture?                              $(t% ôoo
                TOTM OFLWES 4aand417                                $     7 oos.:5

   SO SAY W E ALL this
                             7
                           '-e    day ofOctober,2018.



   FOREPERSON (printedname)                      FOREPERSON (signature)
